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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )                8:05CR342
                                              )
SHERRY MONIZ DUEY,                            )
                                              )
                      Defendant.              )


         The defendant’s motion to continue (Filing No. 70) is granted.
         IT IS ORDERED that the hearing on defendant’s motions to suppress (Filing Nos.
58 and 59) is continued to January 24, 2006, at 2:00 p.m. before Magistrate Judge
Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse,
111 South 18th Plaza, Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         DATED this 30th day of December, 2005.
                                           BY THE COURT:
                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
